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ALB:JLG
UNITED STATES DISTRICT COURT re Or MS 7“
EASTERN DISTRICT OF NEW YORK 1 W .
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TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
AFFIDAVIT AND
- against - COMPLAINT IN SUPPORT
: OF AN APPLICATION FOR
RONALD DERISI, AN ARREST WARRANT
Defendant. (T. 18, U.S.C., § 115(a)(1)(B))
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EASTERN DISTRICT OF NEW YORK, SS:

LAWRENCE O. ANYASO, being duly sworn, deposes and states that he is a
Special Agent with the United States Capitol Police, duly appointed according to law and
acting as such.

From on or about September 27, 2018 to the present, within the Eastern
District of New York and elsewhere, the defendant RONALD DERISI did knowingly and
intentionally threaten to murder one or more United States officials, with intent to impede,
intimidate, or interfere with such officials while engaged in the performance of official
duties, and with intent to retaliate against such officials on account of the performance of
official duties, to wit, DERISI threatened to murder and assault two United States Senators in
retaliation for their support of the nomination and confirmation of Judge Brett Kavanaugh to
the United States Supreme Court.

(Title 18, United States Code, Section 115(a)(1)(B))
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The source of your deponent’s information and the grounds for his belief are
as follows:!

1. I am a Special Agent with the United States Capitol Police (“USCP”),
Investigations Division, Threat Assessment Section, and have been involved in the
investigation of numerous cases involving stalking and threating communications made to
federal officials. I am familiar with the facts and circumstances set forth below from my
participation in the investigation; my review of the investigative file, including the
defendant’s criminal history record; and from reports of other law enforcement officers
involved in the investigation.

2. I have reviewed two recorded voice-messages that were provided to me
by the staff of a United States Senator (“Senator-1”), who I know to be a “United States
official” as defined in 18 U.S.C. § 115(c)(4). In sum and substance and in relevant part,
they were as follows:

a. The first voice-message (“Voice-Message-1”) was received by
Senator-1 at one of Senator-1’s offices in his/her home state, which is not New York.
Voice-Message-1 was recorded on or about September 27, 2018, at approximately 4:55 p.m.
Central Daylight Time (“CDT”). The male caller, who did not identify himself on the
recording, stated, in relevant part, that he had a “present” for Senator-1, specifically: “It’s a
nine millimeter. Side of your fucking skull, you scumbag motherfucker.” The caller

concluded with “Yeah, Kavanaugh — I don’t think so.”

 

} Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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b. The second voice-message (“Voice-Message-2”) was received
by Senator-1 at another office in Senator-1’s home state, which is not New York. Voice-
Message-2 was recorded on or about September 27, 2018, at approximately 5:42 p.m. CDT.
Although the male caller, again, did not identify himself on the recording, his voice sounded
identical to that of the caller in Voice-Message-1. Voice-Message-2 stated, in relevant part:
“We're tired of this guy. Sucking tax payers’ money! Getting a free fucking ride! How
many more years you gonna do it? None! He’sadead man! Nine millimeter, side of the
fucking head! If fucking Kavanaugh gets in, he’s dead fucking meat! Actually, even if
Kavanaugh doesn’t get in, he’s dead fucking meat! Nine millimeter, side of the head, you
fucking old bastard!”

3. I have reviewed 10 recorded voice-messages that were provided to me
by the staff of a United States Senator (“Senator-2”), who I know to be a “United States
official” as defined in 18 U.S.C. § 115(c)(4). Although the male caller on each of these
voice-messages did not identify himself in any of the recordings, his voice sounded identical
to that of the caller who threatened Senator-1, discussed above. In sum and substance and in
relevant part, some of these voice-messages were as follows:

a. One voice-message (““Voice-Message-3”) was received by
Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-3 was recorded on or
about October 6, 2018, at approximately 12:11 p.m. Eastern Standard Time (“EST”). The
caller stated: “You fucking twit, you better pray this guy don’t get in. You fucking moron.”

b. Another voice-message (““Voice-Message-4”) was received by

Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-4 was recorded on or
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about October 6, 2018, at approximately 12:26 p.m. EST. The caller stated, in part: “Hey,
you fucking twit ... We’re trying to confirm [Senator-2’s home address].”

c. Another voice-message (“Voice-Message-5”) was received by

Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-5 was recorded on or
about October 6, 2018, at approximately 12:28 p.m. EST. The caller stated: “tick-tock, tick-
tock, tick-tock.”

d. Another voice-message (“Voice-Message-6”) was received by
Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-6 was recorded on or
about October 6, 2018, at approximately 1:25 p.m. EST. The caller stated, in part: “Listen,
you dumb son of a bitch, don’t you know that guy’s a sex offender? How could you not
know that ... You fucking twit. I’m gonna get you.”

€. Following the vote confirming Judge Kavanaugh to the United
States Supreme Court, another voice-message (“Voice-Message-7”) was received by
Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-7 was recorded on or
about October 7, 2018, at approximately 3:30 p.m. EST. The caller stated: “What the fuck
was that? What the hell? Wonder if this is that [Senator-2], that fucking twit.”

f. Another voice-message (“Voice-Message-8”) was received by
Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-8 was recorded on or
about October 7, 2018, at approximately 5:25 p.m. EST. The caller stated, in part: “You
asshole, you son of a bitch ... Hey, maybe you should go back to [Senator-2’s home state] ...
But thanks for sending us your address; that does help, thank you ... [Reads the address] ...

We'll be in touch, see ya soon, see ya soon.”
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g. Another voice-message (“Voice-Message-9”) was received by
Senator-2 at Senator-2’s office in Washington, D.C. Voice-Message-9 was recorded on or
about October 8, 2018, at approximately 2:44 p.m. EST. The caller stated, in part: “Thanks
to you [Senator-2], we now have a sexual predator on the Supreme Court ... Good job
[Senator-2], thank you very much. We will proceed to correct it, whether [sic] we have to
direct our information to you, or to the so-called asshole Kavanaugh ... And, we don’t give
up, regardless. Enjoy yourself.”

4, Based on a review of toll records of telephone calls to the phone at
Senator-2’s Washington, D.C. office, in addition to calls resulting in 10 voice-messages, the
unknown caller called Senator-2’s office many more times from the same telephone number,
but did not leave messages.

5. I have reviewed toll records obtained from a wireless service provider,
in connection with the telephone that had made the calls to Senator-2 and at least one of the
calls to Senator-1. Based on my review of these records, I learned that the toll records
indicate that the same cellphone made each of these outgoing calls to the Senators. I also
reviewed related bank account records concerning the purchase of that cellphone. From
these records, I learned that the service for this telephone, which was a pre-paid cellphone,
had been paid for using a debit card belonging to the defendant RONALD DERISI. Based
on my further review of location information provided by the cellphone’s service provider
under exigent circumstances, pursuant to 18 U.S.C. §§ 2702(b)(8) and 2702(c)(4), I learned,
in substance, that the calls to the Senators were all made from at or in the vicinity of

DERISI’s home in Smithtown, Suffolk County, New York. I also confirmed DERISI’s
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home address based on information provided in bank account records and law enforcement
databases, among other sources.

6. I have also reviewed the recordings of other threatening calls made by
DERISI approximately three years ago, in or about February 2015, that were unrelated to the
instant offense. Specifically, DERISI pled guilty in Nassau County First District Court to
one count of aggravated harassment in the second degree, in violation of New York Penal
Law § 240.30(01A), in connection with his repeated calling to a victim’s home and office
more than 15 times, and leaving threatening voice-messages. The Nassau County Police
Detective (the “Detective”) who investigated DERISI’s 2015 case provided me with four
voice-message recordings that DERISI had left for the victim in that case. I have listened to
the voice on these recordings from the 2015 case, and the recordings in the instant
investigation, as discussed above. The voices sound to me to be from the same person. At
my request, the Detective also reviewed several of the voice-message recordings left for each
of the two Senators; and, based on his experience with DERISI from DERISI’s 2015 arrest
and prosecution, the Detective believes that the voice on the threatening recordings left for

the two Senators sounds like DERISI’s voice.
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WHEREFORE, your deponent respectfully requests that the defendant
RONALD DERISI be dealt with according to law. Because of the nature of this application,
your deponent also requests that this affidavit and the arrest warrant for the defendant be
sealed and remain under seal until further order of the Court, except that the USCP may
disclose this affidavit and the arrest warrant as necessary to effectuate the arrest and

arraignment of the defendant.

 

LAWRENCE 0. ANYASO
Special Agent, United States Capitol Police

Sworn to before me this
18" day of October, 2018

 

 

FHE HONORABLE ARLENE R. LINDSAY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
